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                  IN THE UNITED STATES DISTRICT COURT

         FOR THE NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION



COMMITTEE FOR A FAIR AND BALANCED         )

MAP, et al.,                              )
                                          )
                 Plaintiffs,              )
                                          )         Case No. ll-C-5065
          v.                              )
                                          )         Hon. John D. Tinder
ILLINOIS STATE BOARD OF ELECTIONS,        )         Hon. Joan H. Lefkow
etal.,                                    )         Hon. Robert L. Miller, Jr.
                                          )         (3-judge court convened pursuant to
                                           )        28 U.S. C. § 2284)     .
                  Defendants.              )




                                APPENDIX 6
               TO DEFENDANTS' RESPONSE TO PLAINTIFFS' MOTION

                       FOR A PERMANENT INJUNCTION



                                A-2S1 thru A-310

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 '" Enhancejudicial recruitment and training.

 Asked what they would do differently in future elections, most jurisdictions said they would
  improvejudge training, And about a third ofsurveyedjurisdicrions said.theywouldimprove
 judge recruiting. These, answers were not exclusiverrhe question W~1S open endedand we noted
 whatever they reported, but concerns.abour helping judgesapparently rank high with local
 authorities.

 Suburban Cook Counry.repouedproblerns with election judges who were not familiar with the
 new procedures, and vowed to "provide Our election judges with more support in the po\.ling
 iPbei~ so E\e(~t,io7) Dt:1'y ,T!IlIns~sro()Q1(,hb' in '(!fie t1vJhm~.'· S'A:oailL\{)na~ judge tr<lining W'Q$ firston a &ist
 of '10 :m"lpron::m-ents (hal Cook County Cle;llk lI)avh:J 011' !plmi.gcd to H~;C:Dmpl'ish in 'l!:n)l,~ tOI[ o[l~e KhH
 'GtnCr1:1( !3;\OC[iI(l,n, 'T,I)Q, DtllPagc County Eileclkm Commission A,,"l;sil.~tHllt Executive Director
 Doreen Neilson assened lhal "some oj' our iPOmWOrhi-s threatened [:0 quit whlen we told !lDCill :they
 nceded ro ,imp.kmcnit tlhl~ new declronit: "otil~g 'te,t"hi:J,o]Dg,y:~ The election ~rtsdf ran smoothlyin
 Du[~g~ 1ilt~C!tlJ'l9il'rn~'tel 'lh~ur 'GW\O ar:ra]:tS;l~." Ibuit brj;p;g~'ll,gJud,:gt,s iSitla ~1:t!l~l:J :\:>t<iIT'X '~~rP to, 3jpOOa onthe
 'f.lt~'W <e1qj'n'ilpima'C,ln l 'DII~cl lpmcedl ures wi I!. ta1j:J:: !nni)):t'e lblfnl tt'~J1e id~t'c:iioil.

 L")I.!l£JI~I~lllU~(Jj':inss.sn ~I:r tie;f,a'Ocldi11t'li~jjll ries.<t,IUrGCS fto fjaj'c~illiital'ii 1l1ilt' 'J;ecrrL)lf~rrleotumill tr~jJ'li 11~   it!Jf nrew
 e1~,!\\'l~ali'l 5'I!JGlges. w~!. (dl3ejf ff;FOIl;r,lI~~,·t'\1deira!lnllf\'VJ.\ jJ'1t1:n,ds'li\'$iiiUto1P~C at \1~le' <1ri.s'C:r~Ol\1 "f;1!f!dl~1:. Stare
 U3cllJll:d 'l)ff'!£lIc\;i.~nDs: 1~lr jfrici\lml :adu;jitttmbilril%t;a'fiitll1$ ''!llf,g,rolerlilrev,t'.Jnne ifrllUd !IDDO:olies, local
 '::It'Ilbolril:I~. mJcd <'.'lad d~Sp.f\'~,r~soU'np'C::~ lOSiUl[P;POiH't u'eCl:tln'tlnme.nt :BRa 1tpajn,iH,g,

  The- Cillicag() 'Board 0 r'EIe,~ti.';msitu~m;rUlmcerll plans il{;~ appcinran aa,\;\,1!11~lfji.sltrfltiYe·judge" )~Cll" every
  pomitg,IP:te-dnct 110 'C.,lllS1irt iPt4)a)er.lPro:C(itlhjllle~ ,fWt:roDl-o.w¢t!Li!t'Sctiij,llS U!i'lflkel:y 'th<'ll,~VJt'RY ~10C..(;l[1
  elf~clil OJ) <l,1.vt!'lorii'l)' htfS .~) e !f'l?SO~'lrccs, 'to ,rndke;slflclh.ul'll·ajPiPQ:itilm.n~Jir~· 't>'Ul Ith,e'Chfltag(.l. 'e~,,'perlJ\1Jel1Jl
. should he \!v.fl'lcl'Jed ,inlihe 'i"lc-.vem:bcr,Ge'nem] itosee ifiit is\!V(Atlih;i(jup~l:jctltl'Dgdse'wfl'ere,

  * Ensureihot balloting equipment isinfull'compttnnce with                                         /1ew {a),IIS


  There were practicalproblems with Jruplementiug the new ballotingequipment rules for the
  March, 2006 Primary. At the PebruaryH, 2006 SUiteBoard of:election~ meeting, Fldlar
  Election     COnap,HI1)': \V'in~th p.rovid~~ \'le:w~viipmeJ)t {ollibbul'l                         n 1h;l,fdo.fIilllinc,is' jurisdietions,
  explained till all iil wou'I d not be able to prov j d¢ mod ufi~liDns onmany 0 f i ts Accuvote sysienas
  because Diebo ~c1, its suppli~f',\. .ras :unail~~ lOJ'Prj,wjcleQ~rt.t}ftn softwareand hardware updates. The
 .State Board had previouslycertified lhis ,eqltapmentcont.ing~mlontlresemodifioations, and had
  (0 back track when the concluded thtitex.:isting ,maohi'lles wert,' .':~qceJJlab~e for the Primary without
  the updates. While f.1~J tnachinery is expecredtobefulty compliant in time-for the.November
  General Election, notall updates had peen c ornple led as ofthedate of our survey. TOD,·as noted
  earlier, at least one p.QIlin.g place reported.that itsDREeq'i:Jiplnen'lfailed, forcingall voters.io use
  optical scan equipment, 'St~tearld local election atithoiit1esshou!ldwoJ;k together e,nsure that                                   to
  fLlI1Clibnirlg and J.j AVA compliant equiplllentisava;il~bleasrequired               every poll i.ng place.     in
  Too, .the machineryilself, cvenwhertce.rtHicdi.n 'compliancc!in some cases did nor wmk; As
  notednb()vc\ olllcliint',S arQund the state failed to turn on, tiiiled to accurately Count "ofes ai1d,iil
  al least Oi1e.CaSC, caught f1t~e when judges tde'd to pt:inttes(jhs. 'Pour ofthe IOil11proYem'ci1l$ .




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 Cook County Clerk David OIT pledged to make concern equipment.




                                                                         D-36
                                          A252
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 I V. Methodology of the.Survey

 ICPR developed a 67-qllestion survey instrument to gallgeimplernentation.ofrecent·e!ection law
 changes by IOCHI election authorities with an.eyeto finding out what happened outside ofthe
 I~irgerjllrisclictions. Duringtwo weeks ill April and'two weeks in July. we phonednearly 100
 local authorities to obtain (heir answers. We obtained finished surveys from 57
 jurisd ictions. Of these, most answered the questions over the phone, bUlsome did so by
 [ax. Many jurisdictions were unable to provide exact answers to all questions; where we lacked
 enough meaningful datato draw conclusions, we ignored thatquestion .



 .Related Links:

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 September /5, 2011




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  Sem'ch this site:   I




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        po/itical muscle. @9.&S1h1nz story w/ICPR analysis,- frttpj/tcoioFAaH9flO is !lIM ftW .
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        online will probably cdmeup In an upcoming legi$latlve session. .},~ 1m . ~ . ~ ­




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          @1~Cemf)aign opposition, + csllson gvmt to jh~rease dpeone$S:
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  7 Voting for.J uc1gcs: Race and Roll-Orr in .ludicial Elections

  I~ ichard   L.. I:ngstron, and Victoria   rvt, Caridas
  The typical American ballot presents (he votcrwithrnultip!e decisions. A variety of separate
  elections arc usually contested at any.onethnc. Vqtcrs n1ay.b~ aske(1 to dlOQSC, on a ~in'gle
  ballot, between or amongcandidates forofIiees asdiverse.as presidsntcf the United Stutes
  and county coroner, or governor of a state and traffic court judge. Participation in these
  various elections is not compulsory, however, Just as eligible voters may slay home on
  election day, $0 also m:IY those who sign in Lo vote c1cCJine or neglect to cast .vOlCS ill some of
  the-elections 011 thehallor. This typc cfnonparticipation is notratidcrn. ofC{lW:SC, but tends 1:0
  \':\t')' with the perceivcd i ll'lpo'rtance O'f ai\ office, Most voters are drawn to thepo lIs i nitially
  by thehigli stimulus elections to the more sallentomtcs{¢ontests usually located alar near
  the top of the ballot). Aficr VOtillg)n'Lheseq6htcsis, howevcr,sornc"rolloff" (i .e, , do not
  vote) in the: elections 10 offices perceivedto be less salicotIconrests llSlll.llJy loc,Hted farther
  down the ballot). Indeed, the. ·!.siereotyipical v6ter" hasbeen described as one whoshcwsup'at.
  the polla intendingto votein one or t\.~o$alientund well PlIb\icizedra,ces9rin H controversial
  referendum. Enicringlhe poUil'l.g place, the voter is confronted with a bewildering array (if
  contests Bnd choices. After voting on afew.salient J'fiCA;S, interest is quickly lostas the voter
  no longer recognizes names of candidateabecornes fatigued, gets careless, andevencual] 1',
  goes beyond the point or indi Iferenceand slopsvotiilg entirely. (Darcy and Schneider 1989.
  348)

  Students of political participation, like voters, have been most interested in high stimulus
  elections. Roll-off as :1 consequence•. has notbeen

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                                                                                                 EXHIBIT      No.-1L
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  studied extensively. This relative inanentionre.rotl-offdoes no! mean thai it is a politically
  uuimporunu phenomenon, however. To thecontrary, due to roll-orr, the actual electorate in
  low stimulus elections can bedifferent in politically significant ways Irorntha! in the high
  stimulus elections. Just asrcll-off does notoccur rundomly across the ballot, neither does its
  Incidence among the voters OGCUl' randomly, Certain types of voters therefore tan be
  expected to rolloff mOI'C .frequently than othei' 1ype:-;.

  One extremely irnpcuanr correlateofroll-off has been the raceofthe voters. NOIonly have
  blacks been found iess likely than whites.ro-be among those who sign inon election day. they
  also have been round more likely to be among the voters \\'110 rolloff rather than vote an
  em ire ballot (see Darcy undSc;hncider 1989;. Vanderleeuwand                  Eugstrorn 19$7; Sheffield and
  H,ttflcy 1i;l84.. 458; M,~g.l(!;bY' 1984, Jm~ I ~A; C6i1liT15 ] 9'8033:3;, C'ln'bha."G 'rl''ti:\/gctu f 9'72,
  ] 45·14t>;W'tlnU~1' J%f~, 4<HJ). 111w f:,l\lq;DlI '\Giwbi chd!l1(:r fomi. (If no:op~HLi(;lpit)rio'J' is
  nlTr'il)\..\;,flhle \0 blacks bef,;,:tg: G1~~;lPrQpl)rt\(JllatdJ poor llr4d less. educated, or :tQ other variables
  related (0 race, 'rel.'lulins anaatter of dispL"e {see, e,g.:'J).at'cy,. ~n,n Schneider 198'9', 360.,.362;
  Vundcrleeuw :n1d EngSlr<:mlI987, 16S7'.. j090~ SheCfi¢ldand f:A1\dk}' 1984, 458; Abramson
  and CbggeU 1!}84, 19 ~fJ, t 989)~ but the deinof::,'Tilpllicconst,quenccs.oftbe noTtp~lrticn;}atioh
  are 1'10\ disputed. Thcactucl electorate, w,hen cCJf:1)j)aredw:lthlli.~ 11'lcuceotia\ electo:r~te.ilf.
  usually ,tli5'>propl.";In.i on~1I.d}' white, ::UJc:\pe6oo,cs: inc,r~itsii1lg1y soas itmoves doWn (Of across)
  ih\? b.al\or f.mmhigh stimulus to ~(j!,Y,st.irntlllJs contests. This.is e~specinY1'y significant given
  that the candidate preferences of Americsu votersnflendiffsr by the "~A{a'S race {see. e.g.,
  Bullot::·k 198.4, !985; Cc~Jllins198Q; Engstr()m 1985, 1989; Sheffidd andJ.,lucHey lSISL)). .

   While Ihe- erections most affectedby toll-off Lerll:l H) be those for ithc less saiiemoffices on a
  ballot, many ofthose officesare farfrom.uili.lllpCl;,tant. Salience ls ~ relauve mnner, of
  course, and some very importanr decisions-are made hi people who occupy these ofGees .
  Among these: low salience p.osi~i()li~; forexBmpte:. a:re numerous.sratc and Iocal jv(tgesll'ips.
  Despite rhetoric about "mechanical jurisprudeeoe" and judges beingneutral. decisionmakers,
  judges ure Widely uckncwledged to have consi~erab!ediscretj()nwh~li. inrerpretingand
  applying the law. Different judges, in s!lorl,i11iiy rhake different fihdil1gsand reach different
  conclusions (sec, e.g... Uhlman 19''77; Welch, Combs, and Gruhl19~S.; Crockett 1976).

  .JUDICIAL ~L£CnONS

  Trial and/or appeiiate court judges are pbpuhlrly elected in many stales ( Dubois 1980a; Fund
  for Modern CPUrlS 1985: Marquard; 1988). Elcctipns            . .                       .

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   to judicial offices ;IfC generally low stil'nidLlS MJ1lil'S, Candidates are restricted l)y ethical
   canons Irom ceriain !ypcs of.campaign activities, inclbding iakil1~pogitions on coutroveraial
   legal andlorp(lIiLica! issues (sec Alfini aljd 8rOQks 1988-89). The media's attention tothese
   more subdued carnpaigns is usually lowundvotera tend to have minimal infcrmation about •
   ihe candidates (.10l1ns0n, Shaefer, andfvJcKnigllt 1978: McKnight, Shader, and Johnson
   1978; Klots 1973; Lanc1insky nne!' Silver 1967,161; Iacoh 1966; 81 S). Not surprisingly, 11l~IIlY
   voters rolLQrr when they reachthe portien of tbeballcrconraining judicial contests. This IS
   especiaIIy the case when judicial elections arc: nonpartisan. orwhen fhe ballot format does
   not racilit:m: struighr"!1;)ny \lOl"illg (1)Uli()js 1980,1, i980b, 4748'. 54..57; Berg and Flynn 1980,
   168-169; Barber 1971, 772-776, 782~784; Darcy and Schneider 1989, 358; BaLU11 1987, 72 n.
    I ; Lo vrich and Sheldon ! 985,)89).

   Roll-ofl' in Judicinlcleclions l'n<lybe extrenI~ly,it'1pQrtaJil p()l.i~icaUy. Black votersreportedly
   have n' preference r(ir' bltlck judges,i! ptcf~r¢ncl;) li\:>cgent;:@-\,iYJi)lared by whit~ voters. Federal
   courtsin ·tvlississi ppi, Loulsiena, and Texas, rcil'exaJrjJ:)le~ havefoundjudicial. elections
   involving u choice between or amongblack and whiteeandidates to be infected with "racially
   polarized voting. "~:thesc voting patrerns presumably i'e:f1eClji1t least in pan, expectations
   that white and biacl<judgc.swiU ex!'rcl$c;dis<::rctio.n
                                                      .
                                                               ¢ift'erently,
                                                                . . . . .
                                                                             expectations fQr which there
   is some ernpit'ical etJidcnce (see Welch, Comb's; lind Grilhl 1988). When voting is racially

   divided. the relative levelsof participation betweenblacks andwhitesin judicial elections

   may be a critical varhible(alotig\:i,rllh the type ofeJection systetllCmployed,seeMc.Dufr

    1989) affecting black electorul.prospects.Jndeed, one blackjufiSl hnsadmonished black

   Voters fc)l' ig,norirlg.illdlci~ll elections, stating:


   One Jllclge and one decisioncan do mora to prorectyour rights thanany elected maYOL But
   weblacks seem to concentrate CHI electing mayors; \\Ie pride.ourselves in saying rhat-weuave
   a black mayor who is laking over.some bankn.\pt lllctropqlitlmc.ily. When we gP to the pons
   to vote, we don't evenlookat thejudicial ballot. 'That; i submit, is where-the power is. (
   Crockett .1976, 192)                                       .

   Empirical researchon theexterato-which there are, racial differences in participation in
   judicial elections has been.very-limited, however, and the findings have not beencon~istent.
   Sup"iort for the assertion tha(bl!.lcl(~ roJlpJJfrot;t1 judicialelections.a: ratcsgreate'rlhan whites
   is providedin.cne.study offiil·eleCtr.on !i1volving a choic:ebe(ween black and white
   candidates. for criminal court judge.in N'cwOrieans, U:luisj~ri~, in 1982, Based on reported
   panicipiltiOll by thcrespondenIs .in aposretectionsurvey; sbifii~ld tiodHndlcy ( J984)
   conclude that while black


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  Puhlicntion Information: Book ThleiPolitical Participatiori and American Democracy,
  Contributors: William Gotty ..editor. Publisher: GreenwoodPress. PI,Hce of Publication: 'New
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   '!'he, elections in which the [i,vo group preferences havecontrusled.rnost shilrpl)' have been, as
    noted above, thoseinvolving 1I birllcial choice in judicial candidates. II is when black voters
   prefer a black candidate that the divisions lend to be greatest. It lias bee» ill these biracial
   elections therefore that blacks have tendedto l"()lI Cl ff the lE:psl', and the racial composition of
   the actual judicial electorate has been the least distorted.Tbis is illllSlhl[t.::d in figUl't 7.3, in
   which the 'racial differences in roll-off (black roll-eff'percentage minus white roll-off
   pcrccl1ulgc-.) have been plotted and regressed against theracial divisions over the judicial
   candidates, Theseelections in wh~llhe candidatepreferred by black voters was btack are
   identified In the plot by H B; those in whichthe blackpreferrcr] candidate was white are
   identified by a W. The race of [he candidate.preferred by.black voters hk)bvi(lIlSly all
   important \'.wi'lb'le. [I wasthecaudidaeies of'blaekscverwhich th.e voters were 11101;;1 d:ivi!.\'~I,
   and it was these candidacies thnlsluInulai:ctl black voters' If;l,roCe In, rather 'li1tUl1l'OrrB01f fl'om,
   the sirnultsnccus j udicial contests, The morcqlc~aUYs.alieot thecl~tion. therefore. the less is
   ~hl~ jl1afrt1icilO~;J6qtn gf.IJl'l between bJ~'Cksii:'IOtil '\li,;ruAlcs'(s:ee.nlst?,Vli'm:~-eTJce'tl\'v ;,m1-!fl E,ugstliom' jf i987) .

   C:G)tNC:LVS~ON


   N~Cfltr'lcr <"lcmocracy el1i'\l~oyS eiecllOhlS ~Q' ifiU lhe~lM;tnber ilJ7irl vanitW of ttJ.fEces as does lr.e
   United Sl:;Sles,~ Lr;jphart 198'5; 19)_ S~[Uderlil$oTAmeiric:J)TltCl6t:lolmlpo~)tics. however, have
   r~C\IS.e{~CJlll r~~~wl'idp.~~,t~fm:lilb L)lft e.,~eclii'D~P'S.l~'lh~ tt'{~Y'9)l)l3J01~ Qi;ffil:.e~ welD as l)rfJS,i\lf.·r.~;l. govemcr.
   and rnayor, \'\'l:J.i~t: Vi-tnt:: attention hitS bc:e'J1 rl~l,voteil (0 elections to tht' ~"'Ii~f:;~'PJtlwlbt1'of ]ess
   StIr; cdji 0 ffices, such as coqn.ty supelVisor or 'twJnicipaljl!ll:lgq.. '[he.preoccupation w i~h the
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   One sig,ni61canl dimension on \v/\Ich theelecrorate may vary is'ilS:'ruci:al tomposil,ion, Blacks
   and whites 0 flen h,H'C comrasiing c~!ll{Mda(e;p~fe:r{;;nce'E;.sa f;!~ltti(;ipa~jc'ndi·ffeJ-etlces between
   these groups are important. Numerousstudies have docurnented the-general tendency for
   blacks 10 participate in major office eteciions at a rat¢, below that forwhites. Differences in
   roll-ofrbctwccn {he groups :cantfCCC;11t:illatc lhis partic:ipi\liq.ll g;;rpus voters movedown or
   acrossthe balloi to the contests for ()lherof1~c.cs,         .

   Among the less saliclit offices filled by.eieeiion fu:etiumerousslrttC and locail judgeships.
   Judicial elections lClT:ld lobe [ow stimulus aftairslllatulqaC{ relatively fewvoters to the polls.
   WhCl1lhcse elecucusare not held COliCUiTc:nllx w:ith those formejor ofGccs,liiartitlpation in
   them
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  Questia..« pan of Gale, Ccngagc Learning. WWIV,q,I/C,slirU::OriJ                                                                             1
  Pnb licafion hlformation:Book Tille: PciliiiCalPtirdcipatio:n .and' ArneriCtlli Democracy.
  Contributors: William Crotty - editor. Pllhlisher: Greenwood Press, Place ofPublication: New
  Y ork. Publ icaiion Year: 1991 . Page Number: 185. . . .                               ..




                                                                   A260                                                                 D-46
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                                      A262                                 D-46
Case: 1:11-cv-05065 Document #: 128-6 Filed: 11/14/11 Page 14 of 61 PageID #:2854




   is usually severely depressed. Hut even ~VhCD held sIl1ltlltaneollsly with a major office
   contest. participation in judicial t:iectlons' still tends to he considerably below thaI in (he
   mnjor o lfice election. Mu.n)' voters simply rnlloffrather than vore for judges,

   Roll-offin Now Orleansjudicia! eleetious has afrectcdLhe racial composition oflhc local
   j urlici aI electorate, mack voters wert: fi:nllld~in overSllpcrcem of simultaneous judici aI
   elections. La rolloff nrgrcatcr rates tharrwhite vorers. The reiatlve ratesof 1'01.1-0 IT varied,
    however, depending on the candidate choices presented to lhe voters. The more racially
   divided the response 10 the candidates, theless the difference inparticipationteuded to be.
   This W~IS primarily attribute to the impact thatblack candidacies had or, the voters, no\vevcr.
   It ~I:t\$ nic black c.nndid:lIes for juditini \)fr~ce:o\Jcrwbich the \I()!l~rs were-most divided. and il.
   IVai) support or these: candidates thai black voters tended l'Cl "rollon" ( Loewen t'mel Grofmnn
    1989, 59J ) r~\lhe!' than orr. Blacks candldacies nndc:nil1lctHy provide<lblacks with an incentive
   lopnrlicipale, once a', the polis, inthese jlWicial.c1c:tJiOllS. 'E!m t.h<:se black Cfli1d~daci~ it'111.IJst
   be remembered usually only reduced the.racial differences in p;\rl.icijjati-ol1, rattier than
   reversed them. Rscialdiffereaces in roll-eff, even wh~n blacks' were~"\]ldi<!ates.gene)rally
   I'\::S1IIl<;(1 in a judicial electeraie that was,ih corripariso« toihe,mi:~cirOmCC: electorate,
   disproportionatelywhile.                                     ..

   NO~J'iJ~S
   L	 Sec Marun       1'. Allain, 658 F.Sll)1P: 1183 (S.D. Miss. 19S7)~Cl(lrk ~'. &fwa;'r!s, 725
         F,Sllpp, 285 (M. D. LL \ 9&8)~ Chisom v. /('oe.l'lIer,Civ. No .86·,,\1)57 (E. O. L11.. 1989);
         NClilgel v. Mattox. Civ. No. Bc8f:H)53 {S.D, T}\. 1999}~ (lmi J.ULACv, Ai/altox, Civ.. N',).
         i'vl O·8S··CA· I54 (W,D. Tx.. 1989).

   2.	 These elections were.: held on ,dotlllQr27 separate rlays [1'601 15 April 1978 through '8
         November ! 988. The POSilio!lSfll iss~~ in (Ji~· 52 judicial elections were on jhe C1 vi;!
         District Court{IJ), Criminal Distnct {jo'Urt{ i ,i ); Juvenile Ceun (7), Tni.f'fit: CCiU/i. (3),
         MU.r.licipid Cou'.t (5), Fjrsl City CoJH1 (5), CirC;d3't Ctl~r.l. ,(;)f A~ppr:alsJ6),al1dstBJl'e
         Supreme C(rUr1~2.). Vnle'r~,ilii'~ug'l()'I!iltl~~:·t~lyO(New Orl-cOlDs 'voted IX,t~i fI ofshese
         elections c)(Cepil those fQf FLrsl Ciay Clli1tlrt, un Wl1iC'li Ilhe rCJsi.ments ()If one ward
         1wlT.Jpr'isfrr£ the W~( bank QtL\1t MiSS:Js-s~ppi .r~"er) ~o n""~;p,?rtidp1!lt~.The ) 5
         simultaneous majo!:'.officeelccliol1s were for Presieenrefnhe Ul1il~ Stafes (3). IJl1ltetl
         S',al,e!)· Serrato r (4).GQvcr.i\91' of LOl:i1s,i:mya (3), IVJayor Qf New 'Ode-alls (4). and Districr
         Auorncy [Dr the P~rishj)f Or161hs (1).                  .      .

   3.	   F'()( the elections held in i98S, vO.ff.f$(gn~ii\.dat<l were available, and these were used in
         place ,0 fthe registiauon.data T6nhe p'UnJQse: c"fe$ti:tillltlngnH~ seppert for particular
         t:<1,\did~~es 31i')(mg these: \'oli;~lg. Re:gJ~tele.tr\'().r~r$w~.re cl,81~~idJci01llS:eualler'W~~i{e or DUl;1Ck.
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         erections bc-gil\lli.llg witla' (bal of2'7 Septl3'l11ber ) 986 therer~:re.(}q: tec:hn!.caHy between
         blf.cks and noreb lacks. rather Ih~nhl<iicl\501i)d whites, The "'others" cU1cgoiy, however,                               .~
         never exceeocd 1 .(n percent of                                                                                          ..'I,




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Case: 1:11-cv-05065 Document #: 128-6 Filed: 11/14/11 Page 15 of 61 PageID #:2855


   1'1:111 NWlIC,:      '1lIillOis 2000 Congressional Districts
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   Measures of COmpactness
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   Mean                  0.33                                        0,70
   StJ, 1)C\'.           010                                         0,10




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Case: 1:11-cv-05065 Document #: 128-6 Filed: 11/14/11 Page 16 of 61 PageID #:2856


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   Min                    0.19                                       0.12

   r-,'Ia"                0.49                                       0:36
   Mean                   0.32                                       0:17
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          Case: 1:11-cv-05065 Document #: 128-6 Filed: 11/14/11 Page 17 of 61 PageID #:2857


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             Print                                                                                             Page 1 of2
                                                                  SEND2690
               Subject:     RE: map»

               From:        Ian Russell (Russell@DCCC.ORG)

             . To:          awmanar~Yi3hoo,cClm;

              Date:         Monday,.Marc,h 21, i011 9:51 AM



             That would be great. What advice do you have on how to get the committee to consider map ideas
             we've discussed (only, of course, if tile Senate President likes them)?




             From: Andrew Manar [maillo,awmariat@yahoo.60mj
             Sent: Sunday; March 20, 2011 4:42 AM·            .
             To: len RiJssell
             SUbject: Re: maps




            Tile senate is starting public .hearings. I will forward you a list of dates/times/locations. AM




            From: Ian Russell <Russell@DCCC.ORG>;
            To: AndreW'Maner .;awmani3r@yah¢o.coin:>;

            Subject: RE: maps ' .            ..'

            Sent: Fri, M8r 18, i011 9:2'8':0'8:PM


                               a
            We've given lot of thought to how pick-ups could be maximized and have looked at lines .internally for
            pick-up opportunities (a lot of it based arouod the concepts lemailedyouaboutearlier):W~.re
            deferring to the delegation on their district§ and- are always wary of getting out (if line wHIl themso.
            haven't gotten very far, but we'd be open to di'~GusSjr1g ho\v to rTt.g.ximizepick~up opportunities we think
            are possible around the state.




            Let me know what would be helpful from us. Thanks.




            From: Andrew Manar [rn8i1to:awmanar@yahoo.coml
            Sent: Friday, March 1~, 2011'3.:17PM
            To: Ian Russell



                                                                                                                0-105
                                                                    A266
Case: 1:11-cv-05065 Document #: 128-6 Filed: 11/14/11 Page 18 of 61 PageID #:2858


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   Print                                                                                                                                Page 2 of2
                                                                                        SEND2691
   Subject; maps




  Ian, have you put together maps that you can share with the Senate President to reflect the potential

  pick-ups in IL', AM





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              Case: 1:11-cv-05065 Document #: 128-6 Filed: 11/14/11 Page 19 of 61 PageID #:2859




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                                                  \fe1'!? v, fadwrrh 1994, 1.338;U42).
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                                                  criterion simply becnu$cits sbnpe violales (he CQi,upacll1eSS ctiteriol1.14



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                                                  a1SQ .JrHitison v. Mill¢r 1994, 1388);
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Case: 1:11-cv-05065 Document #: 128-6 Filed: 11/14/11 Page 21 of 61 PageID #:2861




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     Legend                                                                       Congressional Districts 3, 4, 5 & 13
                                                                                                           2001 and 2011 Comparison

    02011 Congressional Districts

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        PA 97-0014 Districts with Republican Plan Overlay



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  Updated Table 2 to Lichtman's October 27, 2011 Response Report toEngstrom: Summary of Racial

Polarization Analysis: 29 Latino v. Non-Latino Congressional, State Legislative, Countywide and City of

                                           Chicago Elections

                                 ELECTION                                                                POLARiZED     WINNING
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oJ.,' This column is Dr .. Lichtman's analysis for all elections reported, as Dr. Engstrom does not analyze

whether the Latino candidate of choice prevails.
"'* Dr. Lichtman also analyzes these :ei,ectio~s ~IJbjs lO!27/~QH,:l{espoll.seoft\Hul1 J.~,;k,h.tman to Rebuttal
Reports of Richard J. Engstromand ,NterA. ,Mords(m~ fo:dh~,liiili~ed:purp:os~,9fvedf)~tng the ,[Latino
candidate of choice, determining whetlier.non-Latlnosas a!blockvotedugainst thatcandldate, and
assessing whether the Latino candidate          choice won or lost.         or                     '

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          DR ENGSTROM DATA DISCLOSUREO.GTQBER 19,2011: PRECINCTS WITH LESS VOTING AGE

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      2      C:OOK_BERWYiNN1P4             i                    68                             ;'63;
      3      COOl\.BER'.\ft1W'Nf2Pl                              41:'                          '1'191
      4      CClOK_..C~~ICAGOlND\'iPR12                        '17,8                           2lH
      5      COOK_CHICAGCNvO 11PRt"!S                             Q                            302:
      e      COClK_.CHICAGOWD'JlPR28                               5                           137
      7      COOK-, CHICJ.\GQWD11 PR3'1                            1                           129
      8
                                                                         I
             COOK- CHICAGOW01SPR22                             241                             262
      9      COOK_CHI CAGOW,O.15PR.38                           13                             180
      10     COOK_CHICAGOWD16PH1"2                             104                             143
      11     COOK_CHICAGOWm6PR1B                                42                             ·206
      12     cbdK_CHICAGOWD16PR-30                               41                            187
      13     COOK_CHICAG()WD.18PR13                              59                            33d
      1'4    CQOK_CHICAGQWG18PR2'1                                 0                           398'
      15     COOK_CHICAGOW[)18iPR23                               '0                           258
      16     COOK~CHICAGOWD18PR27                                  0                           271
      17     COOK_CH1GAGOWD1fiPR59                                 0                           213
      18     COOK-,CHICAGOW01PR31.                                 0                            192
      HI     COPK....;Cf;iICAGO:w01PR39.                          .5'                          202
      20     COOl(CHICAGCiWD1 R~4~                                 o                            186:
      21     COOK_CHICAGOW01'PR42                                13                             162
      22     COOK-,CH.1CAGOVYD lPR6.                               7                           .218
      23     CGOK_CHICAGO'N02QPR21                                 0                           110,
      24     COOK~CHICAGOWD23PR14                                  0                           113
      2S     COOK_CHICAGOVV023PR14                                 1                           113
      26     CbOK_CHICAGOW024PR44                              276                             291
      2.7    COO,,-:CHICAGOWD26PR21                                0                           145
      28     CbOK_CHICAGOWD26PR2S                                48                            124
      29     .COQK"':CHtCAGOWD2SPR30 .                             0,                          109
      30     COOK.:,;CHICAGO\NQ2PR36,                             ·0                           329
      31     COO~ GHIcAGOWD30PR15                                  9                           183
      32     COOK~CHICAGOWD36PR16                                91                            335
      33     ·COOK-,CHICAGOWD36PR5Q                              73                            178
      34     COOK-.:cCHICAGOW836PR-54                            85                            313
      35     COOK_CHI:CAGOWD31PR14                               38                            297
      36     COOK:_CHI CAGOWD37PR16                                0                           250




                                                                                                        O-t24
                                                    A278
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      37
    COOK CHICAGOWD37PR42                0
              147
                   -
      38,
   COOK_C'H,ICAGOWD38PR45             53
              209

      39
    COOK - CHICAGOWD38PR5                               360

                                                 01
      40
    tOOK CHICAGOWD39PRtd
                   -                            23    i
         182

      41
    COOK_CHICAGQWD39PR5                 0 1
            165

      42
    COOK_CHiCAGOWD3PRl,O               18
              104

      43
    COOK_CHICAGOWD41 PR29               0
              129

      44
    COOK_CHICAGOVY045PR18               0
              234

      45

                                                       i

             COOK_CHICAGOWD45PR37                0,\
            250

      46
    tOOK .,.CHICAGOWD45PR47           129 I
            240

      47
    COOK..;ELKGROVE17                  84
              162

      48
    COOK - ElKGROVEi8                   0'
             152

      49
    COOK_ELKGROVE37                     0'
             120

      50
    COOK_ELKGROVE54                     01              124

      51
    ,COOK LEYDEN13                      0               106

                   -
      ,52    COOK_LEYDEN33                       0                95

      53
    COOK_LEYDEN48                       0               116

      54
    COOK_LEYOEN64                       OJ              128

      55
    C00K.-LYONS1                        2
               30

      56
    COOK_LYONS105                       0               122

      57
    C90K_LYONS107                       0               103

      ~8     COOK.-LYONS 108                     0
              166

      59
    COOK...;.LYQNS17                  123
              245

      60
    COOKlYONS31                       129
              189

               " "7'

      61
    ,COOK:..,LYONS49                    0
              165

      62
    COOK_L YONS53                      35
              209

      63
    COOK_LYONS70                       69
              227

      64
    COOK_LYONS75                       56
              181

      65
    COOK..;,rviAI NE7                   0
              156

                                                                                    ,I
      6,6
   COOK':'MAINE8                       0
              169

      67
    COOK_MAINE95                        0
               88

      68
    caOk<-NORWOODPARK4                 48
              239

      69
    COOILOA!<PARK25                     5
              ~55
      70
    COo.K_Of\KPARK33                   11
              374

      71
    COOK.,.,OAKPARK54                   5
              221

      7:2    COOK_PROVIS0112                     0
              244

      73
    COOK»-:PROVIS0113                   0
              350

      74
    CQOK~PROVIS0113                     3
              350

      75
    COOK - PROVIS0124                   0
              212

      76
    COOK_PROVIS0126                     0
              205

      77
    COQK_PROVIS019                      0
              211

      78
    COQK_PROVIS021                     13
              178

      79
    COOK_PROVIS,022                   100
              181

      80
    COO~,-PROVI$P3
                     0
              145

      81
    C()OK~PROVIS030
                   14
              160





                                                                         0-124

                                       A279

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      82
   COOK_PROVIS049                    141                185

      83
   COOKjROVI5052                      4'                179

      84
   COOK_F'RbVI8057                   83
                '155

      85
   COOK_PROVIS064                     0                 217

      86
   COOK_PROVIS07                      0                  33

      87
   COOK __PROVIS077                 1.65                219

      88
   COOK_PROVIS082                     0                 322

      89
   CbOK_PROVIS092                     0                 124

      90
   COOK_RIVERFOREST15                 0                 108

      9'1   COOK_RIVERFOREST2                  a                 154

      92
   COOK...RivERSIDE6                  0
                180'

      93
 ! COOK_VVORTH4t\                    82
                215





                                                                          D-124

                                      A280
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                NewEngslr0Il1Jtii'1.pnalilt;l   II       NewEngstromJ      Total VA      _?OQ8Alvarez,OM!
                  (PRECINCT NAME)                        oin:VAPERSO       Persons            Cast
                                                              'NS' .       (STATE         (VOT~S;CAST
                                                          (ENSTROM          DATA         200aCOOK PRIM
                                                         LISTED VAp)        VAP)            ST ATTY)




       1
     COOK_.BERWYNW 1P1                                   879
         1041

      2
      COOKJjERWYNWt:P4                                    493
          749

      3
      COOK_CHIC~,GOW011PR'IS                              394
          554

      4
      COOK-:CHICAGOW011PR.23                              ,383
         70S

              c OOK_.CHJ<:;AGOWOt i PR32.                         274
           5'~1J
      tl      CbcIK..:.CH(CAGC'iWID~J1(p.R3~    t	                729
           887

      7
      COo.K~CH]CA'GOW[)W1;PR37                            568
           73G

              coos.. . CHICAGOWOjj PR39
                                                1,1;['




      l3
                                                         455
          885

      9
      COOK~CHICA,GoViJb1', PRSO                           n33           886

       10    I COOK..-CHIQAt;;OWDl;2PIU9
                        1337
          1581

       11coOK_CHnCP,GOWB13,pR21                                   664
           834

       '2     ;COOK;"CHIICAG0WD13P.R42                            :376
         eu
       13     'COQK~CHltAGOvyD15PRz4                              4n             7~O
       14     COOK_ CHilCAGOWD16PRto                              821
           922

       15     'COOK..:CHICf\GOWP16PR2Jl                           168
          470
                  1.61
      16      COO!<..:,CHICAGO W016PR44                           ;846
         943'                  183

      H       COOK_C~ICAGOWD1$S?R17                               :1'2."         952
                 236

       18     GOOK-:CHICAGOWD 1f3PR.31                            640
          805
                  269

       19     COOK_CHICAGOW01SPR42                                '54£          658
                  193

      20COOK_CHIGAGOWD18PR44                                       380
          515.
                170,

      21.COOK_CHICAGOWD1PR22                                      749
           923
                 196 !

      22      COOK_CHICAGOWD1 PR24                                .995.        1170
                  .300

      23      COOK_CHICAGOWD1PR32                                 532
         ;'008                  191

      24     I COO¥:_CHICAGOWO'jPR'39
                            991
         1184
                  202

      25      COOK_CHICAGOWD20PR15
                              2354
         2538
                  191

      .26
    C()OK_CHIC..!~GbWD23PR21                            450
          567
                  242

              COOK_CHICAGOWD23PR40                                e27           ne
                   226

              GOOK_CH ICAGOWD23PR52                               ~b3            711..                278

             .CbOK..,:.CHICAGOW02;3P.R54                         .80a
           965
                 27.'9
              COOK_CHJCAGOWD23PR7                                 117
           850
                 107

              CbbK_CHlCAGOWD25PR17                               {S19           1979
                 356

      32
     COOK_CHI CAGOW D.26PRJ9                             630
          1011'                 221

      33
     COOK.-CHICAGo.wb26P~56                              550
           97(3                 Hlp
      34
     COOK_CHICAGOWD28PR29                               1266
          1413
                 183

      35      COOK_CHICAGOWD28PRS2                                302.           783
                 158





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                                                               A28I
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       arc     COOK_OHICAGOWD29PR2.2                510        .827       '82
      1]       COqK_C.l:-·I'lCAGOWD29PR34           j~19       '689       ise

       38
     COOK;...CbHC,oiOO'WD31 PR10          :SuB       'as.e        101

       19
     CQOK_~CHIC~iGOWD~IPR.42              7'68        en        Hl4

       40
     'COOK.;.. CHI.CP,GOWD31 PR:5'        729
       893
       155·      I


       4~      COOK_;CiHl CAGOW031 PR5tl             723
      848
       146

      42
      ·COOK_ CHIGAg:6~VD33P81             iB4~       ,2.145
     284

       43
     COOK~CHICAGOWD33;PRHl               ~04.2      1 iS3       311

      44
      :COOK_CHICAGC)\IV,033PR 11
         1369
      '14.77      288,

      45
      coo i:\..CH H,:AGO'~vD,1i3 PR'"
    1242 [     "lt7i       '301

      46
      iC:OO:K~(;H ICA:GOVVD331?R26
       :21:91     :2~St;      2li2'
      ·,4,7
   co(,)!C CHI CAG;OllliIDBSJ?iFU8
    ~.3G1      NS'25       ft5fJ.­
      .tl-8    COlCMt CI-t'1I<CAGOWID351PR9.i
       6UO       '71 ~I     136:
      49'      COOK_.CHICtl.<>9WD36PR 16
           588
       765
       ,335
      5.0      cbOK_CHICt\Go\N-D36PR2
              006
       9V):       '161
      ,5?      COOK:':"CHIC;£IGOW036Pf;t21
        11'\1      1323
       334

      52
      GOOK_Ct:1Ic.:AGOWQ36PR22              7tl~     1102
       260

      53
       CbOK_CHlCAGOWD36PR4                 869
       '9i'6'1    170

      .54
      COQK_CHICt-\GOWQ36PR55              403
       <542       320

       -55     ·COC.lI<_CHICAGOW03i'PR2Z·           314
       !}Itt       161

       56
     GOOK~CH\CAGOVVD3j'PR26                fl39
    1021
       :297

       -57'
   COOK_CHICAGOVVm7PR34                 600
       ais         252

       58
     COOK_CHICAGOVVD37PR43                .246
      1'29        231

       59
     COOK...:CIjICAGOWD:l8P.R14           ;293
      7n         16S"
       60
     COQK_CHJCt\GOWD38PR38               1093
      1203
       227

       61
     cook CHICAGOWD3BPH51                 495
       708.       144­
       62
     COOK~CHICA(3q\'\lP38PR9              715
       878:
      168

       63
     CO.OK..,:.CHICAGOWD39PR1'4          13~2       2160
       194

       64
     ·COOK"':CHICAGOWD39PR22             '163       1764
       .2J6

       65
     COOK_PHICAl3PWD39PR24               179;3
     HiM:
       :?-17

       6!5
    COOK-,-CHICAGOWD39PR29               569
       940
       215

       67
     COOK_~HICAGo,VVD39PR7                272
       596
       1.S4
       68
     COOK_CHIGAGbWQ39PR8                  825
      12?1
       .234

       69
     COOK_CHIGAGOWD4~PR25                  352
     1071
       ;247

       70
     COOk_CHI CAGOWCl4SPR40               '472
       974' I
   278

       71
     comLCICER026                        1.247                  133
                    ;j

       72

       73

               COOK_CIGEB030                         346
     '<739

                                                                 2'1
     1n
               CObK,..:crCER06                      ..2.97
    718
         94

       74
     COOK...:E'LKGROVE32                   963
     2110
       130

       75
     q:);OK"",E\;:KGROVE3~                 837
     ,2909
      ·210

       7.6     COOK_ELKGsovsss                     1825
      2344,
      150

       n       COOK_ELKGROVE39                       378
       627
        94

       7.8     C.OOK-,LEYDENl2.                      318
     ·531          5;3
       7.9
    GOOK_lEYDEN16                        '636       al'          93

       80
     CpOK_LEYDEN17                       10.95      1231
                                    i
                                                                           179
                    j

                                                                                                  1;
                                                                                                  ..


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                                                  A282
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      81      COOK LEYDEN22
                     -                  140      I    667       ;20
      82      COOK LEYDEN29             1023         1157       137
                     -
      83      COOK_LEYDEN35             155           683       104     1

      84      COOK_LEYDEN4              1563         1733       124 1
      85
      86
                   -
              COOK LEYDEN44
              COOI< LEYDEN45
                                       1055
                                        464
                                                     1360·
                                                      867
                                                                129.
                                                                115
                     -
      87      COOK..;LEYOEN47           635           759        94
      88      C00K~lEYDEN64             265           617       128
      '89     COOK - LEYDEN66           594          1100       122
      90      COOK..;LEYDEN68           514           749       122
      91      COOK..;lEYDEN71           u21'l         n1'l      11'l6
      92      COO~ LEYDEN80              6461         918      '118
      9~      'OODK..:LYONS1>02          333          85:7'     t~:S
      ,94     COOK....::I_Y0NS'aD4       517          8iB       '171
      9:.     COO~,l YONS1tJ7            392          67,5      1'0'3
      96      COOK_LYONS:?:              229          61'6      'Un'?
      97      COQK_LYONS28               132          476        98
      ga      COO:l\J;VONS3              354          f.~8.     1:34
      99      COOK..,l YONS51            438         1300       :236
      10D     COOX_rLYON 556            1013         1447       151
      lO'l    COOl<'..,L YONSS8         1675         1817       221
      1'0~~   OOOK~LYONSIJ               333          463       114
      11~3    OQOK_LYONS7-6              315          43-'6      94
      104     COC)}{..J"YONSf:l          942         11lJ~      170
      1<n~    OOOI\J':YONS82             362          954       07
      106     COC.~K..)':Y'ON'S,90      410           571       125·
      107     CbbK~L YONS92              377          603:      164
      108     COOK_LYONS99              1708         187!;!     152
      109     COOK_MAINE 12a             233         1463       '162
      HO      CbOK_MAINE17               383         1239       175
      111     COOK...:,MAINE4,1         676          1078'      19.4
      112     CbOK..;PRbvIS0117         430           566'      130
      113     COOK-PROVIS0118           983          1144       221
      114     QQOK..;PRO VI   sos 1      329 •        591       167'
      115     COOK PROVISO 54
      116
                     -                   372          760       191
              COOK_PROVISO?1             974         1231       2B6
      117     COOK_,PROVJS075           837          1073      231
      118     COOK_PROVIS097             41;          515       144
      119     COOK_RIVERSIDE 17          654          803       128
      120     COOK_STICf<NEY12          811          1070       137
      12-1    COOK_STICKNEY13           1182         1406       261
      122     COOK_STICKNEY21           809           990       153
      123     COOK':"WORTH1 09           192          433       178
      124     COOK_VVORTH40             233           861       107
      125     COOK - WORTH94            5'1:3·        816       183




                                                                            D-124
                                      A283
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                                                                         D-124
                                      A284
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           Engstrom New Data Disclosure, Nov. 10, 2011: Difference Between Engstrom Listed VAP and

           State Provided VAP, Difference Greater Than 100, 2008 Oem Prim Cook Co State's Attorney




                          IL08PREC                 SLlM( electionblock     Total VA Persons           DIFfVAP
                        (Precinct Name)             S.VAPERSONS)           (VAP State Data)      (Difference Between
                                                   (VAP Engstrom                                 Engstrom and State
                                                         Data)                                          Data)
                                                             ..,


    1

   '2
                    -
             COOK CHI CAGOWD1 1PR37
             COOK- CHiCAGOW(hZPR19
                                                                    568                  730                    162.00
                                                                   1337                 15M                     244,00
    3        COOK _CHICAGOWD13PR21                                  664                  834                    no.OO
    4        COOK CHICAGOWD13PR42                                   376                  617                    241.00
                 -
    5       ·COOK- CHICAGOWQ18Pfh7                                  727                  952                    225.00
    6        COOK_CHICAGOW.01PR22                                   749                  9?3                    174.60
    7        COOK~CHI CAGOWD,1PR39                                  986                 1126                    14{).OO
    8       .COdK_CHlCAGbWb18PR'13                                   59                  2Q3                    144.00
    9        C60K_CHICAGOWDZiPR21                                   450                  567                    117.00
    10       COOK_CHICAGOIND23PR40                                  627                  778                    151.00·
    11
                    -
             COOK CfilCAGOWD23PR52                                  603                  711                    1Q8:00
    '2       C00K_CHICAGOWD23P~54                                   808                  965                    157.00
    13       COOK.,CHICAGOVVD23PR7                                  117                  850                    133.0.0
    14.      COO!}<_C1'1I CAGOW024PR44                              276                  417                    141.qO:
   15        COO K-:GHICAGOWlJ26 PR19                               630                 101-1                   ~81·00
   16        COOK CHICAGOW026PR56                                    55q                 976
                    -                                                                                           426;00
    17       COOK_CHICAGOW62BPR29                                   i2S6                1413                    147.0Q
    18'      COOK"-~;H ICAGOWO:rjpR10                               SSa                  Ei8S                   120.00
   '9        COOK_CHICAGOW031 PR42                                  168                  ;87~                   1Q5.00
   20        COOK_GHICAt;OWD'2l1 PR5                                7~                   ;893                   164.Q.0
   21        COOK_ CHIC/\GOWp~ 1PR5CI                               723                  '848                   12~i.OO
   22        C091eCHOC/\GOWD.33PR1                                 t8413                2145~                   299,00
   2:1       DOOi<_CHICJ\GOWD:33P:R~1                              '1369                l4H                     10B.00
   24        coox - CH,CAGOWD33PR2                                 1;242                1,3n·                   vse.oo
   25        cob~ CKICi~GC·WOO'5'PP.1a
                    -                                              1301                 1525,                   224.QO
   26        c9QX.:..P'l1 cp..Gqli\l'o'3.5PP.32.                    610                  '71:1                  10":1.0.0
   27        COOI<_CHIC;AGOV\i'D~BPR2.1                            1111                 t;323                   21o,2.DO
   26 cdpx_CHiI.CAGOWD3!3,RROi                                      869                  ,976                   1{l7.QO
   29        C<?OK~CI-IIICAGCN>JD37IPP2'B .                         839                 ~1(J2n                  isaoc
   3.i.l     COOK_ CHICA.'G6wD38PF<~                                7~5                  a1'S                   163;00
   31        COOK...CHIr.f\GOWD3~PR24                              1703                 19M                     291.00




                                                                                                                            0-125
                                                                   A285
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   32    COOK_ CICER026               1247           1424          17700
   33    COOl, ELKGROVE38
              --                      1825           2344          519.00
   3'1   COOK_LEYDEN12                  318           5:~1         213.00
   35    COOI,_LEYOEN16                 636           811          175.00
   36    COOK - LEYDEN17               1095          1231          136.00
   37    COOK - LEYDEN29              1023           1157          134.00
   38    COOK LEYDEN4                 1563           1733          170.00
              -
   39    COOK - LEYDEN44              1055           1360          305.00
   40    COOK LEYDEN45                  464           867
              -                                                    403.00
   4.;   COOK_LEYOEN47                  635           759          124.00
   42         .-
         COOK LEYDEN??                  624           734          110.00
   43    COOK.. LEYDEN80
                  '                     646           918          272.00
   44    COOK_LYONS31                   129           272          14,3.0.0
   45    COOK_LYONS56                  1013,         1447          434.00
   46    COOK_LYONS58                  1675          :1817         142.00
   47    COOK- LYONS70                   69: '       1052          983.00
   48    COOK LYONS73                   333           463          130;00
              -
   49    COOK_LYONS75                    56           578          522.00
   50    COOK - LYONS76                 315:          436          121.0.0
   5,1   COOKJ,.YONS9.0                 410           571          161.00
   5,2   COOK_LYONS92                   377           603          226.00
   53    COOK_LYONS99                  179!l         1879          171.00
   54    COOI<_LYONS10,7                392·          671          279;00
   55    COOK PROVI$07·1                974
              -                                      1231          257.0,0
   56    COOK_PROVI~Q97                 411           515:         104.00,
   57    COOK_STIGKNEY.'2               817          1002:	        ·'85:00
   58    COOK_STICKNEY21                809           990          181.00
   59    COOK_WORTH199                  192           433          241:00


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                                                                              D-125
                                     A286
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                     Enqsjrom New Data Disclosure, Nov. 1'O,.~OH: ,Uiiitlentifiedand
               'LJiiVerifiable preciiicts,200B Oem Prim Cool( 'Co ·Siate's Atiorney
        , •. _ _ ~   A _ _ • _ _ •• _ _ ·¥   _._....... _._-_.....•..._..   "."¥ . _ " -   _._~   •





                                              CONG DEM                                                      GONG:..,F2        ILO~PREC     :SUM(electiunlll
                                                                 -
                                  (District in Adopted                                                      (Distii.tt iii     (Precinct   ocks.VAPF.RSO
                                                         Plan)                                              Plaintlffs"         Name)            NS)
                                                                                                               Plan)                           (VAP in
                                                                                                                                             Engstrom
                                                                                                                                               . Data)


   1                                                                                                   4                  5   COOK~                         0
   2                                                                                                   1                  4   qOQK..c                     245
   3                                                                                                   9                  :3 (;00'<-­                     169
                                                                                                       7
   4                                                                                                                      3 COOK
                                                                                                                                    ­                     305
   5                                                                                                   7                  4 COOK_                         882
                                                                                                       8
   6                                                                                                                      3 CoOK
                                                                                                                                    ­                    .905
   7                                                                                                   4                  4 COOK                         1025
   8                                                                                                   4                  7 COOK_                         559
   9                                                                                                   4                  3 COOK -                       2366
   10                                                                                                  5:                 3!GOO~~                        3403
   11                                                                                                  3                  4 ¢()O~~                       '544~'

                           I




                                                                                                                                                                  D-ns
                                                                                                                                A287
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           Updated Table 4 to Lichtman's October 27,2011 Response Report To Engstrom

      Or ..Engstrom's Original and Corrected.Results for his Analysis of the Support for Latino

                     Candidates in Adopted CD 4'amfCO 4 Under Plaintiffs' Plan

    (The red font is Engstrom's datil fromhis-?~~5.~H 11.cport, pp. 10, 12 and his 10-15-11 Rebuttal

            report, pp, 16-17. The Mil',: font is Engstrom's corrected data from his 11-10-11

              .                      Supplemental Expert Report)




  -------­ -
     lQiLH DIEN!            BERRaOS               -i'.f~%            S4~7%           +2.9%
   lpRIM COOK                                     Stt7%              53.4%           +1.7%
         CO
    ASSESSOR

    2010 !DIEM             BiE;RJIUOS &           !tJ.~%             80.0%           -3.2%
   :PiR]LM -COOK           1FllGU.:EROA
                   I                                            -­
        CO
                   I       'COM181NED             8s..l%             80.9%           -4.2%
    AS$lF..sSO:R   I




    :2iOOSl1}IEM           ALVAlRlEZ              45~'%              41.0%           -3Jl%
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    2010 ))EM                iRJ\MOS              49.5%              39.0%           -9.9%
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    2Q08D.~M                 REYES                G8~()%             63>:30/0        -5.3%
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     CJRCUtT                                      69.$%              ,()4.0%.        -5;5%
     ·COl);RT

    2010 GEN                BERRIOS               52.9%              51.1%           -a.8°(t)­
    COOK co
                                                  54;6%              53.3%           -1.3%
    ASSESSOR

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Case: 1:11-cv-05065 Document #: 128-6 Filed: 11/14/11 Page 40 of 61 PageID #:2880




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    2008 GEN          ALVAREZ                         74.4%       n,5%;        -2.9%
    COOK CO
    STATE'S                                           15.4%       72.8%        -2.6%
      ATTY

       ALL                                            56.85%      S3.53%       -3.3%
   ELEC1'JONS '                                       $~.S(i%     55.. 35°/0   -4.2%

       ALL                                               51,t1%              -4.3%
   ELECTIONS
    l.ATI'N()
                                       65.3%             59.9%
     CANDS
   COMBINED
    Source: ExpertReportofRichard L E'Og:strom, Sept 15, 2011, .PCP. 1.0-Jl2~ Expert

    Response Report of Richard L. Eng~U'(Hr!1 Oct. l.5,iOll,·p. HI, 17, SQ;pp;lemental

       Ex:pertRe,port or-Richard L. ;Engstrom, Novembel' .10, .2011~ Attachmeilt A





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                               Adopted    to 4 Precincts West of Central Avenue

  Precinct                  Total Pop
   Berwyn 1-1                    1,092
  Berwyn 1-4                       82
  Berwyn 2'-'2                     55
  Berwyn 2-4                      664
  ElerwynWd'l      Pct~5        1,019
  BERWYN WD2· peT 1             1,206
  Berwyn Wd·2 Pct-6               88'0
  Berwyn Wd·2Pct-7                924
  Berwyn Wd·3 PeFl              1,520
  Berwyn Wd-3      Pct~2          686
  Berwyn Wd-3 Pct-3             i.zrs
  B'erwvn Wd<~ PCt-4              993
  Berwyn Wd-3 Pct·S               721
  Berwyn Wd-3 Pct·6               825'
  Berwyn Wd-3 Pet-7               813
  aE RWYN WD4- PeT 1            1,303
  8erwyn Wrl-4 Pct-2            2,127
  Berwyn Wd·4 Pct-3             1,120
  Berwyn Wd-4 Pct-4             1,257
  Berwyn Wd-4Pct-'S             1,~6Q
  Berwyn Wd.-S Pet·l            1,976
  Berwvn Wd~S Pct-2             1,909
  Berwyn Wd-~, pct-3            1;851
  'Berwyn    wd,..5 Pct-4       i,195'
  BerwynWd-6 P.et-l             1,195
  Berwyn Wd-6Pct-4              1,578
  Berwyn Wd'-5 Pc:t·5           1,486
  BERWYNWD8· PQ 2               2,048
  Berwvn Wd.-8PCt-4             1,2H
  Cicero 12                       93'n.
  Ciceto 14                     2,075
  Ctcero.f.S                     Ij78~
  CICero 16.                    2,180
  CicerQH~                      1,359
  Cicero 18                     1,548
  Cicero 19                     2,267
  Cicero 2l                     1,476
  Cicero 22                       676
  C1ce,'o 23                    1,504
  Cicero 2.4*'                    994
  Cicero 2.5·                    1,475
  Cicero 2}                      1,62.1
  Cicero 28                      1,208
  Cicero 31                     .1,928
  c;ieero 33                     1,144
  Cicero 34                     2,043


                                                                                      1 of 4
                                                    A292                          0-129
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                        Adopted CD 4 Precincts West of Cellt.r'al Avenue


  Precinct          Total PC?P
  Cicero 3S              1,780
  CicercI36              1,891
  Cicero 37              1,343
  Cicero 38                963
  C!cero41"                254
  Cicero 47'"              709
  Leyden 58                724
  liNden 63                552
  Leyden    67             900
  Oak Park 25                5

  Oak Park 33               14

  Oak Park S4                6

  Prosiso 130              880

  Proviso 10             3,702

  Proviso 102              652

  Provlso 109              710

  Proviso   11           4,507

  PROVISO 111            1,;448
  Proviso .114             687
  Provtso 117              547'
  Proviso 118            l.280
  Proviso 12             1,256

  Proviso 120              669

  PROVISO'121            1.4~3
  Proviso 122            1,482

  Proviso 129              812

  Proviso 13             1,152

  Proviso 136                o
  Prcvlso 14             2;759
  Proviso 140            1,7~8
  Proviso 141.             751

  Proviso' 143           1,232

  Proviso 145            1.5'63

  Proviso 146              863

  Proviso 1,5            2,684

  Proviso 16                     o

  Proviso 22               984

  Proviso 25               7??

  Proviso 27             1,505

  Proviso 29               911
  Proviso 30                18
  Provis 0 31              777
  Proviso 32               519                                                          ..~
  Proviso 54               485
  Proviso 6                956
  Proviso 63               512


                                                                               2 of 4
                                            A293                           D-129
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                              Adopted CD 4 Precincts West of Central Avenue


  Precinct                 Total Pop
  PROVISO 7                      159
  Proviso 71                   1,657
  Proviso 75                   1,435
  Proviso 78                   1,738
  Proviso 8                    1.235
  Proviso 84.                    847
  Proviso         85             838
  Proviso 87                   1,025
  Proviso 88                   1,702
  Proviso 89                     937
  Proviso 9                    1,355
  PrOViS(190                     846
  ?rol1,iso 97                   f611S
  Proviso '98                  1,:113
  River fCIrest 1                '6)j'
  River forest 10                .677
  Rivier F'or~st JI5             7Si.!
  'f!.ivl':.rs 'ttl e..J         lfi,67
  IRriverS'ide.lI:O            1,447
  Ri lYC'irs:!ide '11.1          '80';9
  Rive;rs~de.U                 1)050
  Hiimsj,G11? 13                 'GSa
  Riverside 14                    '727
  iR,iverslde ]\.'5              '944
  R'iv,ersrQe 1'6                ,]'57
  ;Riverside.!?                  .ni
  Rlverslde 2                    279
  lRivers,ide3                   8.28
  IR!iV'e;~r'de 4                750
  :R:rvers'btle5                l,J21
  RIVERSIDE 6                  1,328
  RiversIde 7                  1,045
  Riverside 8                  1,119
  Riverside 9                    856
  iNd 29Pcf2                   1,824
  Wd2.9 Pet ~4                 1,~93
  Wd29 Pet 30                  i,158
  Wd 29 Pet 32                 1,883
  Wd.29 Pet 39                 1,749
  Wd29 Pet 6                    1~671
  Wd 29 Pet 9                  1,364
  wd 30 Pet 10                 1,753
  iNd30 Pet 11                   808
  Wd 30 Pet 12                 1,444
  Wd 30 Pet 17                 1,228
  Wd'30 Pct 2                    881


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                                                 A294                         D-129
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                                   Adopted CD 4 Precincts West   of Central Avenue

      Precinct                  Total Pop
      Wd 3D Pet 28                  1,277
      Wd 30 Pet 34                    982
      wd 30 Pet 3r                    142
      Wd 30 Pct 6                      973
      Wd 31 Pct 15                     906

      Wd.:l6 Pet 1                   1,334

      Wd 36 Pet lil                  1,613

      Wd 36Pct 15                    1,417

      Wd 36 Pcl16                      128
      Wd 36 Pet 19                   1,708
      Wdl6Pct '2                     1,163

       Wd 36Pct 22                     989

       wd 36Pct 23                     352

       Wd 36 Pct 3                   1,245
       Wd36 Pet 4                    1,374
       Wd36 Pet 45                     817

       Wd .36 Pct 51                 1,681

       Wd 36 Pct 52                  1,902

       Wd 315 Pet Sll                  102
       Wd3.6 p·c,t 55                  8S~
       Wd 37 Pet 11                  1,390
       W.d 37:Pct 39                 2,868

      'TotalPopulation
       West of Central   Ave:      184i028
       Entire District             712,813



       .. Indicates a precinctthatis entirely within OD4, butportlons of whichextend eastofCentral Ave.
       Population totals for starred precinct5ifldicatesonlypopulationw.est ofCentral Ave.




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  SUPPLEMENTAL REPORT OF ALLAN 1. LICHTMAN REGARDING DR.ENGSTROM'S

 DATABASE IN HIS SEPTEMBER 15 AND OCTOBER 15,2011 REPORTS COMPARED TO

              HIS DATABASE IN HIS NOVEMBER 10,2011 REPORT.


                                November 14,2011





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        In this Supplemental Report dated November 10,2011, Dr. Engstrom states that I offered
a new oral opinion at my November 2, 2011 deposition about how "split precincts" affected the
voting analysis that Dr. Engstrom provided in his first two reports. I opined on errors in Dr.
Engstrom's database that affected his accounting of "split precincts" at the first opportunity. Dr.
Engstrom's first disclosure on September 19, 2011 did not include the databases on which he
relied. This first disclosure included election returns in pdf form that were not limited to his area
of interest or adjusted in any way for split precincts. I only received Dr. Engstrom's actual
databases on October 19,2011, a month after submission of Dr. Engstrom's first report dated
September 19, 2011.

        Dr. Engstrom only changed his databases in his November 10, 2011 Supplemental Expert
 Report after I criticized his use of split precincts during my deposition on November 2, 2011.
 Dr. Engstrom created new databases for every election he analyzed and changed virtually every
 number contained in his first two reports.

         0-126 is an updated version of Table 4, which is contained in my October 27,2011
 Response Report to Engstrom's Rebuttal report. I updated Table 4 to include Engstrom's
 corrected results from his November 10,2011 Supplemental Expert Report, which results are
 indicated in blue font. Updated Table 4 now is a compilation and summary of Engstrom's
 reconstituted election analyses for Adopted CD 4 and Plaintiffs' CD 4 from his three reports. As
 I received Dr. Engstrom's revised data and report a few days ago, I cannot attest to the accuracy
 of Dr. Engstrom's new databases and results.

         0-123 is an updated version of Table 2, which is contained in my October 27, 20 II
 Response Report to Engstrom's Rebuttal report. I updated Table 2 to include shading indicating
 elections that I analyzed, elections that Engstrom analyzed, and elections that we both analyzed.
 None of the analytic results reported in the Updated Table 2 have changed, but I did correct the
 names of some of the candidates listed in the original Table 2. In the updated table I also
 provided an explanation of my analysis of the two countywide judicial elections.

        0-122 is a table I prepared based upon my initial report and Dr. Engstrom's first and
 second reports comparing the legislative election analyzed in Dr. Engstrom's and my report.


         0-124 contains a table I prepared that shows precincts in Dr. Engstrom's second data
 disclosure of October 19, 2011 in which the YAP was less than the votes cast. This analysis was
 solely internal to Dr. Engstrom's databases. The second table contained in 0-124 I also based on
 Engstrom's second data disclosure of October 19,' 2011. This table contains precincts in which
 the YAP in Dr. Engstrom's databases is different than the YAP for the precincts provided by
 Ann Schaffer of staff of the Redistricting Office of the Illinois Speaker of the House of
 Representatives for the state. The difference for a precinct has to be least lOOY AP. During my
 deposition on November 2,2011, I disclosed that Ann Schaffer had provided me with data.

      0-125 contains a table that I prepared based upon Dr. Engstrom's third data disclosure on
 November 10,2011. It contains precincts in which the YAP in Engstrom's corrected database is




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different from the VAP for the precincts provided to me by Ann Schaffer for the state, with a
difference greater than 100. The second table contained in D-125 I also prepared based upon
Dr. Engstrom's third data disclosure of November 10, 2011. It contains precincts identified in
Engstrom's corrected database and whose identity I could not verify.




  slAllan Lichtman                                                  11/14/11
Allan Lichtman                                               Date




                                                A-298                                    D-130

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   Report on the Geographic Compactness of Illinois Congressional District 4

   My name is Gerald R. Webster, and I currently reside in Laramie, Wyoming. I am a Professor of
   Geography in the Department of Geography at the University of Wyoming, where I also serve as
   departmental chair. I am beginning my fifth year in my present position. Prior to assuming my
   duties at Wyoming in the fall of2007, I was a faculty member in the Department of Geography
   at the University of Alabama for 18 years, and served as departmental chair from 2000 to 2007.
   I am a member of the Association of American Geographers (AAG), Southeastern Division of
   the AAG, Great Plains-Rocky Mountain Division of the AAG and National Council for
   Geographic Education. I presently serve on the editorial board of Political Geography.

   My formal education includes an undergraduate degree in political science from the University
   of Colorado at Denver (1975), a Masters of Science degree in geography from Western
   Washington University (1981) and a Ph.D. in geography from the University of Kentucky
   (1984). My primary research and teaching interests are in political geography, including a focus
   on redistricting. I have authored or co-authored over 70 book chapters and articles in refereed
   journals. I have also served as a consultant and expert witness in a number of redistricting cases
   in the states of Alabama, Mississippi, North Carolina, Virginia, Florida, Louisiana and Illinois.
    In 2001, I provided testimony via affidavit to the 1I1inois Supreme Court pertaining to the
   geographic compactness of the state's 118 House and 59 Senate districts.

   The purpose of the present report is to evaluate the geographic compactness of III inois
   Congressional District 4 in the 2011 Adopted Plan. Before proceeding it is important to explain
   my procedures for evaluating the geographic compactness of representational districts. There are
   several different methods that have been proposed to evaluate geographic compactness over the
   past few decades. The two measures employed here are the geographic dispersion or Reock
   Measure, and the perimeter or Polsby-Popper Measure. The geographic dispersion and perimeter
   measures focus on different aspects of geographic compactness and are most appropriately
   considered in tandem (Webster 2004: 44-5). These two measures were highlighted in a 1993
   Michigan Law Review article by Richard Pildes and Richard Niemi, and have become the most
   commonly employed measures for evaluating district compactness. Adding to the relevance of
 - both measures was the citation of the Pildes and Niemi article in the Supreme Court's 1996
   decision in Bush v. Vera.

   The geographic dispersion compactness measure focuses on the level of spatial concentration of
   a district's geographic area. To calculate this indicator the smallest possible circle is
   circumscribed around a district. The reported coefficient is the proportion of the area in the
   circle that is also included in the district. The coefficient ranges from 1.0 (most compact) to 0.0
   (least compact). Notably, a perfect square has a geographic dispersion coefficient of 0.64, and a
   typical rectangle has a score of approximately 0.40.




                                                     A-299
                                                                                                     D-30
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  The perimeter compactness measure focuses on the length of a district's perimeter relative to the
  quantity of area included in the district. The reported coefficient is the proportion of the area in
  the district relative to a circle with the same perimeter. The coefficient also theoretically ranges
  from 1.0 (most compact) to 0.0 (least compact). A perfect square has a perimeter compactness
  coefficient of 0.78, and a typical rectangle has a coefficient·of approximately 0.60.

  The above noted Pildes and Niemi (1993: 565) article provides guidance for evaluating the two
  compactness measures. Paying substantial attention to the Court's language in Shaw v. Reno
  (1993), they propose cutoff levels for low compactness. With respect the geographic dispersion
  compactness measure they suggest low is equal to or less than 0.15. On the perimeter measure
  they suggest that low is equal to or less than 0.05. With regard to this guidance they state that
  "In choosing the cutoff points used ... [here] ... we do not imply that all districts below these
  points or only those districts are vulnerable after Shaw" (PiIdes and Niemi 1993: 564).

   New redistricting plans are typically compared to the plans they replace. Here I compare CD 4
   in the Adopted Plan with the same district in the 200 I benchmark plan and 1991 plan. The
   district compactness calculations included in this evaluation were performed by the Cartographic
   Research Laboratory at the University of Alabama, Tuscaloosa, Alabama, using the Maptitude
   redistricting software. The calculations are based upon district shape files provided by the state
   of Illinois.

   As noted earlier, Pildes and Niemi,(1993: 565) provide guidance for cutoff points indicating low
   geographic compactness on both measures. On the Reock or geographic dispersion measure they
   suggest that low compactness is equal to or less than 0.15. in the 1991 plan CD 4 had a
   geographic dispersion compactness coefficient of 0.20, which rose to 0.21 in the 200 I
   benchmark plan. In the 20 II Adopted Plan, the coefficient rose further to 0.30, fully twice the
   suggested cut off level for low compactness. Notably this coefficient is also well above that
   calculated by Professor Engstrom in his Expert Report (p. II). Due to this contrast in
   calculations, the University of Alabama Cartographic Research Laboratory undertook their
   analysis a second time and confirmed their initial results.

   Pildes and Niemi (1993: 565) suggest that low compactness on the perimeter or Polsby-Popper
   compactness measure is equal to or less than 0.05. In the 1991 plan CD 4 had a perimeter
   compactness score of 0.02, below the suggested benchmark, In the 200 I plan CD 4's perimeter
   compactness score doubled to 0.04, and rose again to 0.05 in the 2011 plan. Thus, CD 4's score
   in the Approved Plan is more compact than it was in either of the past two decadal congressional
   districting plans.




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  Conclusions

  This report has three principal findings.

          I.	 Professor Engstrom's calculation of the geographic dispersion or Reock Compactness
              measure for CD 4 in the 2011 Adopted Plan is incorrect. In the Adopted Plan the
              coefticient for CD 4's level of geographic dispersion compactness is 0.30.
          2.	 The compactness scores for CD 4 on the geographic dispersion and perimeter
              compactness measures are at or above the Pildes and Niemi (1993: 565) suggested cut
              off levels for low compactness.
          3.	 CD 4 's level of geographic compactness increased in the Adopted Plan on both
              measures when comparing the district to its predecessors in the 1991 plan and 200 I
              benchmark plan.


  References

   Pildes, R.H. and Niemi, R.G. 1993. "Expressive Harms, 'Bizarre Districts,' and Voting Rights:
   Evaluating Election-District Appearances After Shaw v, Reno," Michigan Law Review, 92: 483­
   587.

   Webster, G.R. 2004. "Evaluating the Geographic Compactness of Representational Districts," in
   WorldMinds: Geographical Perspectives on JOO Problems, eds. D.G. Janelle, B. Warf, and K.
   Hansen, pp. 43-48. Boston: Kluwer Academic.

   Facts or Data Relied Upon in Reaching My Conclusions

       I)	 Congressional district shape files for the 1990s, 20005 and the 20 II Adopted Plan
          provided by the staff of the Redistricting Office of the Speaker of the Illinois House of
          Representatives. These were used by the University of Alabama Cartographic Research
          Laboratory to calculate the compactness coefficients for CD 4.

      2)	 Maps of congressional districts in Illinois in the 1990s, 2000s and in the 20 II Adopted
          Plan produced by the University of Alabama Cartographic Research Laboratory.

    . 3) The two references listed above in the "References"section.




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                                                  A-301
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   Additional Information

         I)	 My Curriculum Vita accompanies this report and lists all publications and court cases I
             have worked on in the past.

        2)	 My compensation is $150 per hour.




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     Executed on October 4. 20 I I:





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A PROFILE OF LATINO ELECTED OFFICIALS IN THE UNITED STATES
                               AND THEIR PROGRESS SINCE 1996
The growth in the number of Latino elected officials in the United States is one sign of the political progress of
the Latino population. This progress is due partly to the increasing ability of the Latino community to translate
its population growth into increased political participation. Initiatives to mobilize Latino voters and promote
their engagement in the political process have contributed greatly to the growth of the Latino electorate.
However, the' ability of Latino elected officials to gain and retain public office also reflects their success in the
effective representation of all voters - both Latino and non-Latino.


                                LA TINO ELECTED OFFICIALS IN                          2010
At the beginning of January 20 I 0, there were 5,739 Latinos serving in elected office nationwide. I As the
following table indicates, while there are Latino elected officials serving at virtually all levels of government,
nearly two-thirds (66%) are either municipal or school board officials.

                                  Latino Elected Officials by Level of Office: 2010

                             Level of Office                                           Number

                             Federal                                                          24

                             Statewide Officials (including Governor)                          7

                             State Legislators                                              245

                             County Officials                                               563

                             Municipal Officials                                           1,707

                             Judicial/Law Enforcement Officials                              874

                             School Board/Education Officials                             2,071

                             Special District Officials                                      248

                                 Total                                                    5,739




I Generally, the data on Latino elected officials in this Profile reflect those who were in office as of June 20 10 (for U.S.

Senators and Representatives and State Senators and Representatives) or as of January 20 10 (for all other elected officials).




                                                             A-304                                                  D-38
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STATE DISTRIBUTION

Latino elected officials serve in 43 of the nation's 50 states. Nearly half (43% serve in Texas). Most Latino
elected officials (95%) serve in states or regions that are traditional centers of Latino population including
California and the Southwest, Florida, New Jersey, New York and Illinois.


                                  Latino Elected Officials by State: 2010


                                State                                        Number

                                Texas                                            2,459

                                California                                         1,311

                                New Mexico                                          714

                                Arizona                                             362

                                Florida                                             158

                                Colorado                                            167

                                Illinois                                            113

                                New Jersey                                          113

                                New York                                             73

                                Other states                                        269

                                   Total                                         5,739


GENDER

Nearly three-quarters of Latino elected officials are male (68%), and 32% are female.

                                    Latino Elected Officials by Gender: 2010

                                        Gender                           Number

                                        Male                               3,881

                                        Female                             1,858

                                            Total                          5,739

The level of representation of Latinas at higher offices in the United States is greater than the level for all female
officeholders. For example, 16.8% of all U.S. Representatives are female; however, 26.1 % of the Latinos in the
House are women. According to the Center for American Women and Politics at Rutgers University, women
hold 22.0% of the nation's state senate seats and 25.4% of the state lower house seats. In comparison, Latinas
comprise 34.9% of the Latino state senators, and 27.9% of the Latino state lower house members.




                                           See "Methodology" at the end ofthis profile.                              2

                                                              A-305                                      D-38

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PARTY AFFILIATION

Over three-quarters (76%) of Latino elected officials are not publicly affiliated with either major political party
or serve in offices that are elected on a non-partisan basis. Only 24% of Latino elected officials serve in partisan
offices or are publicly affiliated with either major political party; of these, 91.5% are Democrat and 8.5% are
Republican.

                              Latino Elected Officials by Party Affiliation: 2010


                                  Party Affiliation                        Number

                              Non-partisan/Unaffiliated                       4,371

                                  Democrat                                    1,248

                                  Republican                                     116

                                  Independent                                      4

                                      Total                                   5,739


        A   COMPARISON OF LATINO ELECTED OFFICIALS:                                            1996   AND   2010
The number of Latino elected officials has grown significantly over the past ten years. In 1996, there were
3,743 Latinos serving in elected office. By 2010, that number had grown by 1,996 to 5,739 - a 53% increase.

                           Latino Elected Officials by Level of Office: 1996 and 2010

     Level of Office                                             1996                 2010             Change


     Federal                                                      17                      24           41.2%


     Statewide Officials (including Governor)                      6                       7           16.7%


     State Legislators                                           156                     245           57.1%


     County Officials                                           358                      563           57.3%


     Municipal Officials                                       1,295                  1,707            31.8%


     Judicial/Law Enforcement Officials                         546                      874           60.1%


     Education/School Board Officials                          1,240                2,071              67.0%


     Special District Officials                                  125                     248           98.4%



The growth of Latinos serving in offices that are elected statewide is of interest. In 1996, there were no Latinos
serving in the United States Senate. Five of the six Latino state officials were serving in New Mexico, including
three Corporation Commissioners, the Secretary of State and the State Auditor. The other state official was the
Texas Attorney General. In 2010, there is now one Latino U.S. Senator, representing New Jersey. In New
Mexico, the Latino state officials include the Governor, the Secretary of State and State Auditor. Other Latinos
now serving in state office include the Superintendent of Public Education in Idaho, the Attorney General in




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Nevada, and the Superintendent of Public Instruction in Oregon. In Texas, one of the statewide Railroad
Commissioners is Latino.

The growth of Latinos serving in statewide offices demonstrates the increasing ability of Latinos to win
elections in statewide campaigns where they must attract votes from a significant number of non-Latino voters.
This is particularly true for the officials serving in states such as Idaho, New Jersey, and Oregon where less than
25% of the state's population is Latino.

STATE GROWTH

In both 1996 and 2010, Latino elected officials tended to be concentrated in the Southwest - in both years, the
top four states with the largest number of Latino elected officials were Texas, California, New Mexico, and
Arizona. However, there was rapid growth in states outside the Southwest, including Illinois, New Jersey, and
states which have emerging Latino populations. In 1996, Latino elected officials served in 34 states; by 20 I0,
that number had increased to 43.

                               Latino Elected Officials by State: 1996 and 2010


        State                      1996                         2010                  Change

        Texas                      1,687                       2,459                  45.8%

        California                  693                        1,311                  89.2%

        New Mexico                  623                          714                  14.6%

        Arizona                     298                          362                  21.5%

        Florida                       72                         158                  119.4%

        Colorado                     161                         167                   3.7%

        IIIinois                      41                         113                  175.6%

        New Jersey                    33                          113                 242.4%

        New York                      40                           73                 82.5%

        Other states                  95                         269                  183.2%

The increasing number of Latino elected officials in states outside the traditional areas of Latino population
concentration is due both to the growth of the Latino population in those states, and the development of
mobilization efforts and political infrastructures that helped Latinos gain office. In 1996, there were no Latino
elected officials in Alaska, Georgia, Kentucky, New Hampshire, Missouri, North Dakota, Oklahoma, Tennessee
or Virginia; by 20 I0, Georgia had six, Missouri and New Hampshire each had four, Oklahoma, Tennessee and
Virginia each had three, Alaska had two, and Kentucky and North Dakota each had one. Other states with
significant gains in Latino elected officials between 1996 and 20 I0 include Connecticut (from 13 to 29),
Maryland (from 2 to 10), Massachusetts (from 8 to 25); Michigan (from 4 to 11); Nevada (from 5 to 13);
Oregon (from 1 to 11); Rhode Island (from 1 to 8); and Wisconsin (from 2 to 7).




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GENDER

Between 1996 and 20 I0, the number of Latina elected officials grew faster than the number of male Latino
officials - the number of Latinas increased by 105%, compared to 37% for male Latinos. As a result, the Latina
share of all Latino elected officials grew from 24% in 1996 to 32% in 20 IO.

                              Latino Elected Officials by Gender: 1996 and 2010

                                          1996                                    2010

                                Number           Percent             Number              Percent

                   Male           2,836            75.8%                3,881            67.6%

                   Female           907            24.2%                1,858            32.4 %



                                               CONCLUSION

The comparison of Latino elected officials in 1996 and 2010 reveals some trends that are likely to continue in the
future - the overall growth in the number of Latino elected officials nationwide, the increase of Latino elected
officials in "emerging population" states, and the continued progress of Latinas in elected office. The comparison
also suggests some future challenges for the Latino community and some milestones that have yet to be attained.
There is currently only one Latino in the U.S. Senate, and only one Latino Governor (New Mexico's Bill
Richardson).

However, future Latino political progress will not just occur automatically as the Latino population continues to
grow. The Latino community must continue the successful empowerment strategies of the past three decades.
We must promote U.S. citizenship for the nearly four million Latino legal permanent residents who are currently
eligible to naturalize. We must mobilize Latino citizens to cast their ballots through effective voter registration
and engagement efforts. We must ensure that the Latino community has a meaningful voice in the 20 II
redistrictings, so that Congressional, state and local jurisdiction maps provide Latinos with a fair opportunity to
choose their elected representatives. We must develop the political infrastructure to support future Latino
leaders throughout the country. The success of these efforts is critical for our nation as a whole. Latino political
progress does not just mean that more Latinos have the opportunity to share their talents and skills by serving in
elected office - it also means that our nation's democracy remains truly representative and vital.




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                                                · METHODOLOGY


Compilation and verification of data about Latino elected officials: Since 1984, the NALEO Educational Fund has
conducted an annual verification to ascertain the number of Latino elected officials nationwide. As part of this enumeration
process, we re-verify Latino elected officials identified during the last annual verification. The NALEO Educational Fund
also identifies officeholders through the state and local government directories, World Wide Websites on the Internet,
newspapers' listings of national and local election results, and membership lists of national and state organizations.
Additionally, we learn of Latino elected officials through our own constituency services and civic engagement programs.
We also arrange for the review of our lists of Latino elected officials in certain jurisdictions, by Board members, local civic
leaders, representatives of community-based organizations, and other stakeholders.

While the NALEO Educational Fund believes its compilation of information about Latino elected officials is the most
comprehensive conducted in the United States, our data are subject to certain limitations. First, to some extent we rely on
Spanish surnames to help identify potential Latino elected officials, and we may not initially identify an individual without
a Spanish surname as potentially being Latino. However, once we identify individuals as potentially being Latino, we
conduct a verification to definitively ascertain that they are Latino, regardless of their surname.

Additionally, because of the large number of local jurisdictions, and the frequency with which they hold elections, it is not
possible for the NALEO Educational Fund to review the election results of every local jurisdiction in the nation. As noted
above, much of verification process involves re-verifying information about Latinos currently serving in office, and
compiling information about any changes in the jurisdictions in which they serve. Thus, our verification process is more
effective at identifying Latino elected officials in local jurisdictions where Latinos are currently serving in office than in
identifying newly-elected officials in local jurisdictions where no Latinos currently serve. We have partly addressed this
limitation by compiling information from the lists maintained by the Latino or Hispanic caucuses of local election official
professional associations, such as the Hispanic Elected Local Officials of the National League of Cities, or the Hispanic
Caucus of the National School Board Association.

Comparability of data between 1996 and 2010: There are certain changes in electoral procedures, the classification of
elected official s, and our verification process which affect the comparabi Iity of data on Latino elected officials between
1996 and 2009. First, we continue to make improvements in our verification process which enable us to enhance our
identification of Latino elected officials. In particular, the review of our lists of Latino elected officials by stakeholders in
certain jurisdictions has greatly improved our identification of Latino officeholders in those areas. The greater availability
ofjurisdiction websites with information about elected officials has also assisted us in better identification of Latino
officeholders. Thus, the increase in the number of Latino elected officials in some jurisdictions between 1996 and 20 I0
may not only reflect the political progress of Latinos in those areas, but also our enhanced verification capabilities.

ln 1996, the Corporation Commissioners of New Mexico were elected on a statewide basis at large and are included in our
1996 data as "statewide officials." In 2006, the responsibilities held by Corporation Commissioners are now held by
New Mexico's Public Regulation Commissioners, and the Public Regulation Commissioners are elected in individual
districts. Thus as of2006, Public Regulation Commissioners are classified as "special district officials."

In 1996, the NALEO Educational Fund classified Texas county judges as "judicial/law enforcement officials." Starting in
2000, the NALEO Educational Fund began to classify those judges as "county officials" based on the nature of their county
administrative and executive responsibilities.

In 2004, New York City replaced its community school boards with 32 community education councils, each governing a
community school district. Members of the public elected representatives to the community school boards, and in 1996,
those representatives were included as Latino elected officials. Members of the new community education councils are
selected by either officers of the community school district's parent and parent-teacher associations; the borough president;
or the community superintendent. Thus, we no longer classify community education councilmembers as elected officials.
In 1996, we included 37 Latino New York City community school board members. As a result of the replacement of the
school boards with educational councils, the comparison of Latino elected officials between 1996 and 20 lOin New York
may somewhat understate the full extent of the increase in Latino elected officials between those years.

Additionally, for the purposes of this profile, the NALEO Educational Fund has not included the number of Latino Chicago
local school councilmembers (LSC's) in its data on Latino elected officials. The number of LSC's fluctuates widely from
year to year, and the inclusion in the statistics in this fact sheet could distort the comparability of data between different
states and between different time periods.




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      COMPARISON OF LATINO V. NON-LATINO LEGISLATIVE ELECTIONS

            ANALYZED BY DR. ENGSTROMAND DR. LICHTMAN


LEGISLATIVE ELECTIONS INCLUDED IN        LEGISLATIVE ELECTIONS INCLUDED IN
DR. ENGSTROM'S ELECTORAL STUDIES         DR. LICHTMAN'S STUDIES, EXCLUDED
                                         BY DR. ENGSTROM

2010 DEM PRIM COOK COUNTY BOARD          2010 DEM PRIM CONGRESSIONAL
DISTRICT 16                              DISTRICT 3

                                         2009 GENERAL CONGRESSIONAL
                                         DISTRICT 5
                                         2002 DEM PRIM STATE SEN 20
                                         2006 DEM PRIMSTATE REP 3
                                         2008 DEM PRIMSTATE REP 3
                                         2010 DEM PRIMSTATE REP 2
                                         2010 DEM PRIMSTATE REP 23
                                         2006 GENERALSTATE REP 24
                                         2006 GENERAL STATE REP 44
                                         2008 GENERALSTATE REP39
                                         2008 GENERALSTATE REP44
                                         2010 GENERALSTATE REP 39
                                         2010 GENERALSTATE REP 44




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